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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                     MIAMI DIVISION

                              CASE NO. 08-20926-CIV-ALTONAGA

  OSCAR CORTES,

            Plaintiff,
  vs.

  LINDA SWACINA, District Director, United
  States Citizenship & Immigration Services,
  Miami District; and ROBERT S. MUELLER,
  III, Director, Federal Bureau of Investigation,

        Defendants.
  ____________________________________/


                                               ORDER

            THIS CAUSE is before the Court upon parties’ Stipulation Regarding Reasonable Amount

  of Attorney’ s Fees and Expenses [D.E. 27], filed on November 25, 2008. The Court having

  reviewed the Stipulation and the record, and having been otherwise fully advised in the premises,

  it is

            ORDERED AND ADJUDGED that the Stipulation is approved, and Defendants shall pay

  Six Thousand Dollars ($6,000.00) in attorney’s fees and costs to Plaintiff.

            DONE AND ORDERED in Chambers in Miami, Florida this 25th day of November, 2008.



                                                          _________________________________
                                                          CECILIA M. ALTONAGA
                                                          UNITED STATES DISTRICT JUDGE

  cc:     counsel of record
